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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

MICHAEL SHAWN BILLUPS,
Plaintiff,
v Civil Action No.: 3:17-ev-03788
WESTERN REGIONAL JAIL,
CORRECTIONAL OFFICER WADE,

MEDICAL SUPERVISOR MICHELLE CARR and
NURSE SUZIE,

Defendants.

AFFIDAVIT OF KRISTA VALLANDINGHAM, R.N,

STATE OF WEST VIRGINIA}

COUNTY OF CABELL } TO-WIT:
Krista Vallandingham, being first duly sworn, deposes and says as follows:
1. I am over the age of eighteen (18) years.

2, I suffer from no disability that would interfere with my ability or
confidence to make this affidavit.

a. I am employed by PrimeCare Medical of West Virginia, Inc., as the
acting Health Services Administrator at the Western Regional Jail in
Barboursville, West Virginia, as well as the Regional Coordinator,

A, I have thoroughly reviewed the medical records of Michael Shawn
Billups, as well as any and all inmate grievances relaled to healthcare

filed by Billups.
5. Afier thorough review, I have determined that Mr. Billups filed no

grievances related to his medical care, which 18 the subject. of this
lawsuit.

Further the afant sayeth naught. Iya Nondingar

Krista Vallandingham, RN,

09/21/2017 11:01AM (CGMT-04:00)
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STATE OF WEST VIRGINIA,

county or UUIDE 1 TO-WIT:
I, Log te i 2 , a Notary Public in and for the County and

State aforesaid, do hercby ccrtify that Krista Vallandingham, whose name is signed

io the Affidavit above, bearing date the ‘Z4 day of Se Oe VOC, 2017, has

this day acknowledged the same before me in my said County and State.

My commission expires: dy Zip 27S

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nt, | LLC UN Str bp
Woden tedonn tol Notary Public

One O'Hanion Place
Barboursvilla, WV 25504
fty Commission Expires Aprit 28, 2023

09/21/2017 11:01AM (CGMT-04:00)
